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                                                                                        United States District Court
                                                                                          Southern District of Texas

                                                                                                ENTERED
                        IN THE UNITED STATES DISTRICT COURT                                     May 01, 2023
                        FOR THE SOUTHERN DISTRICT OF TEXAS                                Nathan Ochsner, Clerk
                                GALVESTON DIVISION

RICHARD E. SCHULTZ,                                 §
                                                    §
         Plaintiff/Counter-Defendant,               §
                                                    §
                                                    §
v.                                                  §
                                                    §
DEUTSCHE BANK NATIONAL TRUST                        §         Civil Action No. 3:22-cv-00094
COMPANY,                                            §
                                                    §
         Defendant/Counter-Plaintiff/               §
         Third-Party Plaintiff,                     §
                                                    §
v.                                                  §
                                                    §
MERDITH ANN SCHULTZ,                                §
                                                    §
          Third-Party Defendant.                    §

                     FINAL JUDGMENT AND ORDER OF FORECLOSURE

Pursuant to the court's memorandum opinion, Dkt. 27, entered in this case granting the

defendant's motion for summary judgment, Dkt. 23, it is ordered that this case is dismissed with

prejudice.

THIS IS A FINAL JUDGMENT.

All pending motions are denied as moot.

The clerk will provide copies of this judgment to the parties.

IT IS THEREFORE ORDERED, ADJUDGED AND DECREED that Plaintiff Richard E.

Schultz (“Plaintiff”) take nothing on all claims he has brought in this cause. It is further,
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       ORDERED, ADJUDGED AND DECREED that an event of default has occurred on

that certain Texas Home Equity Adjustable Rate Note (the “Note”), originally payable to Town

and Country Credit Corp. executed by Plaintiff on or about March 18, 2004. It is further,

       ORDERED, ADJUDGED AND DECREED that that certain Texas Home

Equity Security Instrument (“Security Instrument” and together with the Note, the “Loan

Agreement”), recorded as document number 2004017978 in the official public records of

Brazoria County, Texas, provides Town and County Credit Corp. and its successors and assigns,

in the event of a default on the obligations on the Note, with a first lien security interest on

that certain real property located at as 6717 S.F. Austin Road, Freeport, Texas 77541, and

more particularly described as:

       TRACT I

       TRACT NUMBER 11 OF THE MRS LUCY HERVEY SUBDIVISION
       NUMBER 2 IN THE S.F. AUSTIN 7-1/3 LEAGUE GRANT, DIVISION 18,
       ABSTRACT 20, BRAZORIA COUNTY, TEXAS, ACCORDING TO THE
       MAP OR PLAT OF SAID SUBDIVISION RECORDED IN VOLUME 3,
       PAGE 87 OF THE PLAT RECORDS OF BRAZORIA COUNTY, TEXAS,
       CONTAINING 5 ACRES OF LAND, MORE OR LESS, LESS AND
       EXCEPT THE FOLLOWING 2,467.5 SQUARE FEET, MORE OR LESS,
       THEREOF:

       BEGINNING AT THE NORTHEAST CORNER OF SAID TRACT NUMBER
       11;

       THENCE SOUTH 29 DEGREES 11 MINUTES EAST A DISTANCE OF
       250 FEET TO THE SOUTHEAST CORNER OF TRACT NUMBER 11 AND A
       POINT FOR CORNER;
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       THENCE SOUTH 70 DEGREES 15 MINUTES WEST ALONG THE
       SOUTHERLY BOUNDARY OF SAID TRACT NUMBER 11 A DISTANCE
       OF 10 FEET TO A POINT FOR CORNER;

       THENCE NORTH 29 DEGREES 11 MINUTES WEST A DISTANCE OF
       250 FEET TO A POINT FOR CORNER IN THE NORTHERLY BOUNDARY
       OF TRACT NUMBER 11;

       THENCE NORTH 70 DEGREES 15 MINUTES EAST ALONG THE
       NORTHERLY BOUNDARY OF TRACT 11 A DISTANCE OF 10 FEET TO
       THE PLACE OF BEGINNING.

       TRACT II

       THE FOLLOWING PARCEL OF LAND ADJOINING TRACT NUMBER 11
       OF THE MRS. LUCY HERVEY SUBDIVISION NUMBER 2, S.F. AUSTIN
       7-1/3 LEAGUE GRANT, DIVISION 18, ABSTRACT 20, BRAZORIA
       COUNTY, TEXAS, TO-WIT:

       BEGINNING AT THE NORTHWEST CORNER OF SAID TRACT NUMBER
       11; THENCE 29 DEGREES 11 MINUTES WEST A DISTANCE OF 15 FEET
       TO A POINT IN THE NORTH RIGHT OF WAY LINE OF THE PUBLIC
       ROADWAY KNOWN AS STEPHEN F. AUSTIN ROAD;

       THENCE NORTH 70 DEGREES 15 MINUTES EAST ALONG THE
       NORTH RIGHT OF WAY LINE OF SAID ROADWAY A DISTANCE OF 263
       FEET TO A POINT FOR CORNER;

       THENCE SOUTH 29 DEGREES 11 MINUTES EAST A DISTANCE OF 15
       FEET TO A POINT FOR CORNER, SAID POINT BEING THE NORTHEAST
       CORNER OF TRACT 11;

       THENCE SOUTH 70 DEGREES 15 MINUTES WEST ALONG THE
       NORTHERLY BOUNDARY OF SAID TRACT NUMBER 11 A DISTANCE
       OF 263 FEET TO THE PLACE OF BEGINNING, CONTAINING 0.09 OF AN
       ACRES OF LAND, MORE OR LESS. (the “Property”).

       It is further,

       ORDERED, ADJUDGED AND DECREED that Deutsche Bank is the current legal

owner and holder of the Note and beneficiary of the Security Instrument. It is further,

       ORDERED, ADJUDGED AND DECREED that the following are secured by the

Security Instrument on the Property: the outstanding balance of the Note, plus attorney fees;
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prejudgment interest; post-judgment interest; and costs of court. It is further,

           ORDERED, ADJUDGED AND DECREED that due to the default on the Note,

Plaintiff, or its successors or assigns, may proceed with foreclosure of the Property as provided

in the Security Instrument and section 51.002 of the Texas Property Code. It is further,

           ORDERED, ADJUDGED AND DECREED that Plaintiff may further communicate

with Borrowers and all third parties reasonably necessary to conduct the foreclosure sale. It is

further,

           ORDERED, ADJUDGED AND DECREED that any notices regarding the foreclosure

of the Property to Borrowers may be mailed to 6717 SF Austin Road, Freeport, Texas 77541. It is

further,

           ORDERED, ADJUDGED AND DECREED that Plaintiff shall recover its fees from

Borrowers as a further obligation on the debt, in an amount to be determined by subsequent

motion practice. It is further,

           ORDERED, ADJUDGED AND DECREED that, except as provided above, all costs

are taxed against the party incurring same. All relief not granted herein is denied. This is a final

judgment, disposing of all parties and all claims and may be appealed by any party hereto. All

writs and processes necessary for the enforcement of this judgment may issue.


           Signed on Galveston Island this 1st day of May, 2023.




                                               JEFFREY VINCENT BROWN
                                               UNITED STATES DISTRICT JUDGE
